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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT



    ONTARIO TEACHERS’ PENSION PLAN
    BOARD, Individually and as Lead Plaintiff
                                                                      No. 3:17-cv-558 (SRU)
    on behalf of all others similarly situated;
    and
    ANCHORAGE POLICE & FIRE
    RETIREMENT SYSTEM, Individually and
    as Named Plaintiff on behalf of all
    similarly-situated bond purchasers,
           Plaintiffs,
           v.
    TEVA PHARMACEUTICAL
    INDUSTRIES LTD.; EREZ VIGODMAN;
    EYAL DESHEH; SIGURDUR
    OLAFSSON; DEBORAH GRIFFIN;
    KÅRE SCHULTZ; MICHAEL
    MCCLELLAN; YITZHAK PETERBURG;
    AND TEVA PHARMACEUTICAL
    FINANCE NETHERLANDS III B.V.,
           Defendants.



    ORDER REGARDING PRE-TRIAL CONSOLIDATION OF RELATED ACTIONS


     I.      Consolidation
             1. This Order shall apply to (1) all class actions consolidated for all purposes under

     the caption Ontario Teachers’ Pension Plan Board v. Teva Pharmaceutical Indus. Ltd., et

     al., No. 3:17-cv-558 (“the Ontario Action”), (2) each of the three later-filed related putative

     class actions pending in this Court (the “Later-Filed Class Actions”), 1 (3) seventeen


1
 The Later-Filed Class Actions are: (1) Grodko v. Teva Pharmaceutical Indus. Ltd., No. 3:18-cv-800; (2)
Huellemeier v. Teva Pharmaceutical Indus. Ltd., No. 3:17-cv-1938; and (3) Employees’ Ret. Sys. of St. Petersburg v.
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    individual actions pending in this Court (the “Direct Actions”), 2 and (4) any case that relates

    to the same subject matter as any of the foregoing actions that is subsequently filed in, or

    transferred to, this Court and assigned to the undersigned (collectively, the “Related

    Actions”). A party who has the right to object to consolidation of any such subsequently

    filed or transferred case, or to any provision of this Order, must serve an application for relief

    from this Order or from any of its provisions within seven (7) days after the date on which

    defense counsel mails or emails a copy of this Order to counsel for that party. The provisions

    of this Order shall apply to any such action pending the Court’s ruling on the application.

              2. For purposes of this Order, the Ontario Action and the Related Actions are

    collectively referred to as the “Consolidated Teva Securities Litigation.” Except as otherwise

    provided, any order entered in the Ontario Action is deemed entered in all the actions

    constituting the Consolidated Teva Securities Litigation.

              3. Pursuant to Local Rule 42(a), the docket for the Ontario Action shall be the

    “master docket,” and all papers hereafter filed in the Consolidated Teva Securities Litigation

    shall be filed on the docket for the Ontario Action.



Teva Pharmaceutical Indus. Ltd., No. 3:19-cv-1768. To the extent that Baker v. Teva Pharmaceutical Indus., Ltd.,
et al., No. 3:18-cv-798, is not already consolidated into Grodko, it is now consolidated into this action.
2
  The Direct Actions are: (1) OZ ELS Master Fund, Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:17-cv-1314;
(2) Nordea Investment Mgmt. AB v. Teva Pharm. Industries Ltd., et al., No. 3:18-cv-1681; (3) Revenue, et al. v.
Teva Pharm. Indus., Ltd., et al., No. 3:18-cv-1721; (4) Pacific Funds Series Trust, et al. v. Teva Pharm. Indus., Ltd.,
et al., No. 3:18-cv-1956; (5) Public School Teachers Pension and Ret. Sys. of Chicago v. Teva Pharm. Indus., Ltd.,
No. 3:19-cv-175; (6) Schwab Capital Trust, et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-192; (7) Phoenix
Ins. Co., Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-449; (8) Mivtachim The Workers Social Ins.
Fund Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-513; (9) Clal Ins. Co., Ltd., et al. v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-543; (10) Highfields Capital I LP, et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-
cv-603; (11) Migdal Ins. Co., Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-655; (12) Harel Pension
and Provident Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-656; (13) Oregon v. Teva Pharm. Indus.,
Ltd., et al., No. 3:19-cv-657; (14) Migdal Mutual Funds, Ltd. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-923;
(15) Psagot Mutual Funds, Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-1167; (16) Stichting PGGM
Depositary, et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-1173; (17) Internationale
Kapitalanlagegesellschaft mbH v. Teva Pharm. Indus., Ltd., et al., No. 3:20-cv-83.

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               4. Every pleading filed in the Consolidated Teva Securities Litigation shall bear the

      following caption:

                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF CONNECTICUT

     ______________________________
     IN RE TEVA SECURITIES LITIGATION                                   No. 3:17-cv-558 (SRU)
     ______________________________
     THIS DOCUMENT RELATES TO:
     ______________________________


               5. When a pleading relates to the Ontario Action and all the Related Actions, the

      words “All Actions” shall appear directly below the docket number in the caption. When a

      pleading relates to an entire group of consolidated cases, the words “All Class Actions” 3 or

      “All Direct Actions” shall appear directly below the docket number in the caption. When a

      pleading relates to only some, but not all, such actions, the docket number for each action to

      which the pleading relates shall appear directly below the docket number in the caption.

      II.      Amendment of Complaint in the Ontario Action

               6. Defendants consented to Plaintiffs’ amending the prior complaint in the Ontario

      Action, see Am. Compl., Doc. No. 226, by filing a Second Amended Consolidated Class

      Action Complaint on December 13, 2019 (the “SAC”). See Am. Compl., Doc. No. 310. In

      connection with the SAC, Plaintiffs and Defendants have agreed, and the Court now orders,

      the following:




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    “All Class Actions” are the Ontario Action and the Later-Filed Class Actions.

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         7. Defendants will not advance at any stage of the case the arguments that Plaintiffs

do not have standing to bring the claims that are the subject of the amendments, or that

Plaintiffs are not adequate or typical representatives for purposes of representing the class,

and Defendants shall not use the fact of the amendment itself to challenge class certification.

         8. The SAC shall be treated identically to the prior complaint, see Am. Compl., Doc.

No. 226, for relation back purposes, including under Fed. R. Civ. P. 15(c)(1).

         9. Defendants shall not move under Fed. R. Civ. P. 12 with respect to the SAC.

Defendants have already answered the SAC. See Ans., Doc. No. 327. The schedule outlined

in my Case Management Order, see Doc. No. 298, is still in effect.

         10. Subject to the exceptions set forth in Paragraphs 7, 8, and 9 above, Defendants

have not waived and expressly reserve all arguments and defenses, and Defendants may

advance any argument or defense at a later stage of the case, including in support of any

motion for summary judgment.

         11. Defendants shall not be required to file Answers to the Complaints in the three

Later-Filed Class Actions.

III.     Amendment of Complaint and Motions to Dismiss in Direct Actions

         12. The Plaintiffs in each of the Direct Actions shall either designate their present

complaint as operative or file an amended complaint within thirty (30) days of the Court’s

entry of this Order. The designated or amended complaint shall conform to the Court’s

ruling on motions to dismiss in the Ontario Action. See Order, Doc. No. 283. Defendants

have agreed not to oppose the filing of any such amended complaint, but in doing so do not



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waive and instead expressly reserve any and all arguments and defenses Defendants may

have to claims asserted in any designated or amended complaint.

           13. Within thirty (30) days of the filing of an amended complaint or designation of

an operative complaint in any Direct Action, Defendants may move to dismiss any complaint

in whole or in part with respect to (a) Israeli law claims; or (b) statutes of limitations or

repose. To the extent any Defendant files a motion to dismiss on the foregoing bases,

Plaintiff shall file an opposition, if any, within thirty (30) days of the filing of the motion to

dismiss. Any reply shall be due within thirty (30) days of the filing of any opposition.

           14. Motions to dismiss on any other ground and all answers shall be held in

abeyance until 120 days after the Court adjudicates the Israeli law and statutes of limitations

and repose issues in all the Direct Actions, at which point all Defendants shall answer or

otherwise respond to the operative complaints in the Direct Actions.

IV.        Discovery and Duties of Counsel

           15. The discovery schedule set forth in the Civil Case Management Order in the

Ontario Action shall apply to all Related Actions. See Order, Doc. No. 298.

      A.      Lead Counsel, Liaison Counsel, and General Meet-and-Confer Requirement

           16. On July 11, 2017, I appointed Bleichmar Fonti & Auld LLP as Lead Counsel for

the Lead Plaintiff in the Ontario Action (“Lead Counsel”). See Order, Doc. No. 124. Lead

Counsel shall conduct all pre-trial and discovery proceedings on behalf of all Plaintiffs in the

Ontario Action and the Later-Filed Class Actions.




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        17. The Plaintiffs in the Direct Actions have nominated Matthew L. Mustokoff, Esq.

of Kessler Topaz Meltzer & Check, LLP to serve as Liaison Counsel. Liaison Counsel will

be responsible, generally, for communicating (1) with the Plaintiffs in all Direct Actions

about their views regarding discovery and other topics of interest, and (2) with Lead Counsel

regarding discovery issues, litigation strategy, and motion practice.

        18. Lead Counsel is subject to a general good faith meet-and-confer requirement.

That is, Lead Counsel will communicate openly and in good faith with Liaison Counsel in

the ways described below. In turn, Liaison Counsel will communicate openly and in good

faith with counsel for the Plaintiffs in all the Direct Actions.

        19. Where issues pertain to one or more Direct Actions, but not the Ontario Action,

Liaison Counsel shall communicate with the Court regarding those issues. Nothing stated in

this Order shall be construed to diminish the right of any party to be heard by the Court on

matters that are not susceptible to joint or common action, or as to which there is genuine

disagreement among counsel. Any party may seek relief from any of the provisions of this

Order by application to the Court upon a showing of good cause.

   B.      Sharing Discovery

        20. All discovery in the Ontario Action will be deemed discovered in all the Direct

Actions, including non-party discovery to the extent the non-party agrees. Subject to the

limitations set forth below, all documents and written discovery produced by any Defendant

and/or non-party in the Ontario Action shall be made available to counsel for each Plaintiff

in the Direct Actions. The Defendants in the Ontario Action shall share that discovery

directly with the Plaintiffs in the Direct Actions.


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       21. Additionally, Lead Counsel is encouraged to maintain a complete electronic

file/online document repository of all papers and discovery materials filed or generated in the

Ontario Action that shall be available to all counsel for Plaintiffs in the Direct Actions via

secure web-based access, provided that Plaintiffs and their counsel in the Direct Actions have

become signatories to all confidentiality agreements in place for such discovery and bear

their share of document repository expenses.

       22. Excluded from paragraph 20 is any discovery (1) produced by current or former

employees or agents of Lead Plaintiffs or Class Representatives in the Ontario Action; and

(2) solely and directly related to the investment decisions, standing, typicality, or adequacy of

representation of the Lead Plaintiffs or Class Representatives in the Ontario Action.

   C. Requests for Production of Documents, Document Subpoenas, Requests for
      Admission, and Interrogatories

       23. Requests for production of documents served on Defendants in the Ontario

Action will be deemed served on the Defendants for purposes of all Related Actions.

Document subpoenas served on non-parties in the Ontario Action shall be deemed served on

non-parties for purposes of all Related Actions; copies of such subpoenas shall be provided

to any Plaintiff’s counsel who requests them. Requests for admission served on Defendants

in the Ontario Action shall be deemed served on Defendants in all Related Actions.

Interrogatories served on Defendants in the Ontario Action shall be deemed served on

Defendants in all Related Actions. Lead Counsel shall provide copies of all discovery

requests to any Plaintiff’s counsel who requests them.




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        24. Defendants’ (or non-parties’) objections and responses to such requests for

production, document subpoenas, requests for admission, and interrogatories served in the

Ontario Action shall likewise be deemed served in the Related Actions.

        25. Before Lead Counsel in the Ontario Action serves a request for production of

documents, a document subpoena, a request for admission, or an interrogatory, Lead Counsel

shall be subject to a good faith meet-and-confer requirement. Specifically, Lead Counsel and

Liaison Counsel shall meet and confer in good faith. Lead Counsel shall make every effort

to incorporate the views of Liaison Counsel into the requests, subpoenas, or interrogatories

that it serves. If, after meeting and conferring in good faith, Liaison Counsel is of the view

that Lead Counsel’s requests, subpoenas, or interrogatories do not incorporate his or her

views, Liaison Counsel may serve non-duplicative requests, subpoenas, or interrogatories on

the Defendants in the Ontario Action (or on non-parties). In the normal course, Liaison

Counsel shall serve all such non-duplicative requests on behalf of all Plaintiffs in the Direct

Actions, and the responses shall be shared with Lead Counsel.

   D.      Depositions

        26. Depositions taken in the Ontario Action shall be deemed taken in the Direct

Actions. Lead Counsel shall schedule and conduct all depositions. Lead Counsel and/or

Liaison Counsel shall provide counsel for Plaintiffs in the Direct Actions reasonable notice

of the time, date, and location of all scheduled depositions. Before the deposition, Lead

Counsel and Liaison Counsel shall meet and confer in good faith regarding the scope of the

deposition. Lead Counsel shall make every effort to accommodate Liaison Counsel’s views.

At the deposition, Liaison Counsel—or a single designee of Liaison Counsel—shall have a

reasonable amount of time to ask non-duplicative questions of the witness following the

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conclusion of Lead Counsel’s questioning. Lead Counsel shall notify defense counsel a

reasonable period in advance of a deposition when it becomes apparent that a deposition is

expected to last more than one seven-hour day. Requests to extend a particular deposition for

more than one day will be liberally granted. Absent a showing of good cause, however, no

witness may be deposed more than once without prior leave of the Court.

   E.      Expert Discovery

        27. Lead Counsel may employ and consult with experts on any relevant issue.

Nothing in this Order precludes the Plaintiffs in the Direct Actions from employing and

consulting with their own experts. However, the Plaintiffs in the Direct Actions must

withhold disclosure of their own expert witnesses pending further order.

   F.      Further Discovery Matters

        28. The above-described good faith, meet-and-confer procedure shall also apply to

any discovery motions. Lead Counsel shall generally brief and argue such motions, but only

after having met and conferred in good faith with Liaison Counsel. In the event that Lead

Counsel declines to raise an issue on behalf of the Direct Action Plaintiffs, Liaison Counsel

may brief and argue that issue.

        29. The above-described good faith, meet-and-confer procedure shall also apply to

any proposed stipulations.

        30. At pretrial conferences, Lead Counsel shall speak on behalf of the Plaintiffs in

the Related Actions. Before such conferences, Lead Counsel shall meet and confer with

Liaison Counsel in good faith. At such conferences, if Liaison Counsel believes that Lead



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   Counsel has not adequately represented the views of the Plaintiffs in one or more Direct

   Actions, Liaison Counsel may represent such views.

           31. Should counsel for any Plaintiff in any Direct Action believe that his or her

   views are not being appropriately incorporated into the discovery process, such counsel may

   request the Court’s intervention. Counsel for Plaintiffs in the Direct Actions shall not

   separately file a discovery motion without prior leave of the Court.

           32. The Parties will coordinate regarding the filing of a proposed modified

   protective order in the Ontario Action and any such modified protective order entered

   hereafter in the Ontario Action shall be equally applicable to the Direct Actions.

   V.      Privilege

           33. Cooperation by and among counsel is essential for the orderly and expeditious

   resolution of this litigation. Accordingly, the communication of documents and information

   among Plaintiffs’ counsel shall not be deemed a waiver of the attorney-client privilege or the

   work product doctrine. Likewise, the communication of documents and information among

   Defendants’ counsel shall not be deemed a waiver of the attorney-client privilege or the work

   product doctrine.




        So ordered.

Dated at Bridgeport, Connecticut, this 28th day of April 2020.




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                                        /s/ STEFAN R. UNDERHILL
                                        Stefan R. Underhill
                                        United States District Judge




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